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                          UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     )       CASE NO: 1:21-cr 00341
                                             )
       Plaintiff,                            )       JUDGE COLLEEN KOLLAR
                                             )       KOTELLY
                                             )
       -vs-                                  )
                                             )
JOHN DOUGLAS WRIGHT                          )       AGREED MOTION TO MODIFY
                                             )       CONDITIONS OF RELEASE
       Defendant.                            )
                                             )

       Now comes Defendant, by and through Attorney Noah C. Munyer and respectfully

requests that this court issue an Order Modifying Defendant=s Conditions of Release to

remove his stand alone monitoring and GPS requirement.

       The basis for this motion is that it is necessary for Defendant to travel for

employment purposes. Undersigned counsel has spoken to Assistant U.S. Attorney Jacob

Strain and he does not oppose to this motion and modification.

       Defendant owns and drives for a charter bus company which involves overnight

travel within Ohio and many of the surrounding states. The current GPS monitoring

requires him to call ahead for any trips that he must take his GPS base unit with him. Each

time he unplugs the base unit it sends a tamper alert to the system which requires the

pretrial officer to access the GPS system to reset the location data. This event occurs each

time the base station loses power and is moved to another outlet. Counsel has spoken to

pretrial services and confirmed the details of this GPS system.

       Wherefore, Defendant respectfully requests that the Court modify his conditions of

pretrial release to remove his stand alone monitoring and GPS requirement.
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                                                    Respectfully submitted,

                                                     /s/ Noah C. Munyer
                                                    Noah C. Munyer (0086575)
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                             CERTIFICATE OF SERVICE

       I hereby certify that on this 9th day of July, 2021 a copy of the Agreed Motion to
Modify Conditions of Release was filed electronically. Notice of this filing will be sent by
operation of the Court’s electronic filing system to all parties indicated on the electronic
filing receipt. A copy was forwarded to Jacob Strain, jacob.strain@usdoj.gov All other
parties will be served by regular U.S. mail. Parties may access this filing through the
Court’s system.


                                                    /s/ Noah C. Munyer
                                                    Noah C. Munyer (0086575)
                                                    Attorney for John Douglas Wright
